       Case 2:13-cr-00227-DAD Document 78 Filed 06/24/14 Page 1 of 1


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4                            UNITED STATES DISTRICT COURT

5                            EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                  No. 2:13-cr-227 GEB
8                    Plaintiff,
9           v.                                  ORDER
10   YU NUNG CHEN,
11                   Defendant.
12

13                 Defendant submitted a sentencing memorandum containing

14   several      exhibits    in    languages     other    than   English    with    no

15   accompanying         English      translation.          Specifically,      these

16   untranslated documents are Exhibits F, pages two, three, four,

17   five, and six, and G. (ECF No. 77-1.) “[T]he court does not

18   accept filing in any language other than English.” Yerron v.

19   Hirsch, No. 1:04-cv-6231-LJO-SMS-PC, 2007 WL 4215242, at *3 (E.D.

20   Cal.   Nov.    28,   2007).    Therefore,     the    referenced   documents    are

21   stricken.

22                 Should Defendant desire any stricken document to be

23   considered,      Defendant     shall   file    an     appropriate   translation

24   forthwith.

25   Dated:      June 24, 2014

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